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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                                   May 21, 2020
                          UNITED STATES DISTRICT COURT
                                                                                David J. Bradley, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

FIMBANK PLC, et al,                          §
                                             §
         Plaintiffs,                         §
VS.                                          § CIVIL ACTION NO. 2:19-CV-00264
                                             §
DISCOVERY INVESTMENT CORP., et               §
al,                                          §
                                             §
         Defendants.                         §

                       MEMORANDUM AND RECOMMENDATION

        Plaintiff FIMBANK PLC initiated this action seeking an attachment of the M/V

SAM Eagle under the court’s admiralty jurisdiction, naming Defendants Discover

Investment Corporation (“Discover”), SAM Shipping Management S.A. (“SAM

Panama”), Shipping Asset Management S.A. (“SAM Geneva”), and SPV SAM Eagle

Inc. (“SAM Eagle”).       Following an ex parte hearing, Magistrate Judge B. Janice

Ellington granted a writ of attachment against the SAM Eagle. (D.E. 7). SAM Eagle

filed a motion to vacate the attachment under Supplemental Admiralty Rule E(4)(f) and

dismiss the complaint under Federal Rules of Civil Procedure 12(b)(6) and 12(c) (D.E.

17), along with a second motion to dismiss under Rules 12(b)(2), (4), and (5) (D.E. 19),

to which FIMBANK has responded (D.E. 21, 25). On November 15, 2019, Judge

Ellington ordered expedited jurisdictional discovery regarding FIMBANK’s allegation

that the defendants should be treated as alter egos. (D.E. 39). Following the close of this

limited discovery, both FIMBANK and SAM Eagle filed various supplemental briefs.

(D.E. 73, 75, 105, 106, 108, 133).      For the reasons discussed further below, it is
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recommended that both of SAM Eagle’s motions (D.E. 17, 19) be DENIED and that the

Court find that jurisdiction is proper because FIMBANK has shown reasonable grounds

to maintain the attachment.

   I.       BACKGROUND

            a. FIMBANK’s Allegations

        In the complaint, FIMBANK alleges that it provided banking facilities to AOS

Trading DMCC and AOS International SA (collectively, “AOS”) to finance the purchase

of presold grain for shipment to Egypt. (D.E. 1 at 3). In March 2018, AOS sought to

finance the purchase of 51,300 metric tons of wheat to be shipped on the M/V Nika,1 at

the time owned by Discover. (Id.). Credit Suisse sent FIMBANK 61 bills of lading

regarding the financed wheat, and FIMBANK remitted $10,593,156 on behalf of AOS.

(Id. at 3-4). FIMBANK retained the bills of lading as security for the advance. (Id. at 4).

        The Nika carried the wheat to Egypt, where it was discharged. (Id.). FIMBANK

sent sets of bills of lading to the various buyers and financial institutions for collection.

In June 2018, FIMBANK was informed that all of the wheat had been collected from the

warehouse, but it was still awaiting payment on 17,300 metric tons of wheat. One

financial institution returned the bills of lading for all 17,300 missing metric tons.

FIMBANK alleges that the missing wheat was mis-delivered by the Nika and that

Discover is liable for the resulting loss. (Id.).


        1
         The vessel known as the Nika at the time of the grain shipment was previously
known as the SAM Tiger and is now named the Nord. This memorandum primarily refers
to the ship as the Nika because that was its name at the time of the underlying dispute,
although the other names are used when appropriate.
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      In February 2019, FIMBANK contacted Discover to inform it that FIMBANK was

the lawful holder of the bills of lading and that it understood the wheat to have been

discharged to a third-party without proper presentation of the bills of lading. (Id. at 5).

In March 2019, FIMBANK and Discover entered a standstill agreement in effect until

June 21, 2019, in which they agreed that: (1) Discover would not sell or transfer the Nika;

(2) FIMBANK would not seek to attach the Nika or any sister vessels; (3) any time limits

were extended until July 1, 2019; and (4) the bills of lading were “governed by English

law and claims thereunder are to be pursued in arbitration in London.” (Id.).

      On June 26, 2019, FIMBANK sent a notice of arbitration to Discover and, the

following day, requested security for its claims in the amount of $4,900,000. (Id. at 8).

Discover did not respond to the request for security, so FIMBANK investigated the

Nika’s status and found that it had been renamed the M/V Nord and that ownership had

changed to Anchor Nautical SA. The relevant registry entry had changed on June 24,

2019, three days after the end of the standstill agreement. (Id.). In July 2019, Discover

responded that the notice of arbitration was defective, but eventually appointed an

arbitrator, contending that they were doing so without prejudice to the assertion that the

notice was defective. (Id. at 8-9). FIMBANK sought a freezing injunction in English

Court, which was granted on August 22, 2019. (Id. at 9).

      FIMBANK further alleges that Discover, SAM Panama, SAM Geneva, and SAM

Eagle should be treated as alter ego entities because they have blurred the lines between

separate existences and have abused the corporate form in order to perpetrate a fraud,

injustice, or other wrongdoing. (Id. at 9-10). In support, FIMBANK alleges that the
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defendants: (1) share overlapping ownership, personnel and officers; (2) have common

office space and addresses; and (3) are otherwise operated in a way that suggests an alter

ego relationship. (Id. at 10-15).

       As to abuse of the corporate form, FIMBANK alleges that the Nika’s sale and

reemergence as the Nord was a sham transaction intended only to frustrate the interests of

FIMBANK as creditor.         (Id. at 15).   FIMBANK raises multiple grounds for this

allegation, including that: (1) SAM Asset Management (SAM) S.A. continued to be the

vessel’s commercial operator; (2) the vessel was not circulated in the market as being

available for sale; (3) the Nord’s trading pattern remains the same as before the sale;

(4) the Nord retains the same protection and indemnity insurance club (“P&I Club”) as it

had before the sale and as all other SAM vessels; (5) the flag remains the same;

(6) Discover was a single-vessel-owning company that sold its only asset despite the

pendency of claims against it; and (7) Discover sold the vessel only three days after the

expiration of the grace period, but it would have been in violation of the standstill

agreement if it took any actions towards selling the vessel during the grace period. (Id. at

15-17).

       As to the requirements to obtain an attachment against the SAM Eagle under Rule

B of the Supplemental Rules for Admiralty or Maritime Claims, FIMBANK alleged that

none of the alter ego defendants could be found in this district, but that the SAM Eagle,

their asset, could be. (Id. at 17-18).

       FIMBANK attached a declaration from their general counsel, Andrea Batelli, who

stated that he read the complaint and “[knew] the contents therefore and that the same are
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true to my own knowledge, except as to matters stated to be alleged on information and

belief, and as to those matters I believe them to be true.” (Id. at 22).

           b. Relevant Procedural History

       Following an ex parte hearing on September 13, 2019, Magistrate Judge Ellington

issued an order for writ of attachment against the M/V SAM Eagle. (D.E. 7).

       On September 26, 2019, SAM Eagle entered a restricted appearance pursuant to

Rule E(8) of the Supplemental Rules for Admiralty or Maritime Claims and filed its first

“Motion to Vacate Attachment and Motion to Dismiss.”               (D.E. 17).   SAM Eagle

indicated that the motion was brought to vacate the attachment under Supplemental

Admiralty Rule E(4)(f) and to dismiss under Fed. R. Civ. P. 12(b)(6) and 12(c).2 (Id. at

1). On October 4, 2019, subject to the same restricted appearance, SAM Eagle filed a

“Motion to Dismiss” under Fed. R. Civ. P. 12(b)(2), (4) and (5). (D.E. 19). Response

and reply briefs followed each motion. (D.E. 21, 25, 27, 37).

       On November 13, 2019, the court held a hearing on the motion to vacate the

attachment. In the subsequent order for expedited jurisdictional discovery, Magistrate

Judge Ellington noted that FIMBANK’s claims against the M/V SAM Eagle rested

entirely on the alter ego allegations and concluded that FIMBANK had alleged sufficient

facts that, if substantiated, would support the court’s quasi in rem jurisdiction over each

of the defendants as alter egos of SAM Eagle. (D.E. 39 at 1). However, because the alter

ego allegations implicated the court’s jurisdiction, Judge Ellington ordered limited

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        Although SAM Eagle purportedly filed the motion in part under Rule 12(c), that
designation was improper. Rule 12(c) only applies “[a]fter the pleadings are closed,”
which was not the case when SAM Eagle filed the first motion.
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discovery to determine whether this court may properly exercise admiralty jurisdiction.

(Id. at 1-2).

         In January 2020, following the completion of limited discovery, the parties filed

their supplemental briefs. (D.E. 73, 75, 105). Finally, SAM Eagle filed a supplemental

brief regarding the English High Court’s February 5, 2020, discharge of the freezing

order discussed in the complaint.       (D.E. 106).    This was, naturally, followed by a

response and a reply. (D.E. 108, 133).

   II.    DISCUSSION

          a. Standards of Review

          i.    Rule 12(b)(6)

         Rule 12(b)(6) provides for dismissal of an action for “failure to state a claim upon

which relief can be granted.” Fed. R. Civ. P. 12(b)(6). In determining whether to grant a

motion to dismiss, the court must not go outside the pleadings and must accept all well-

pleaded facts as true, looking at them in the light most favorable to the plaintiff. Scanlan

v. Texas A&M University, 343 F.3d 533, 536 (5th Cir. 2003).

         A pleading must include a short and plain statement of the claim showing that the

pleader is entitled to relief and giving the defendant fair notice of what the claim is. Fed.

R. Civ. P. 8(a)(2); Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).              A

complaint attacked by a Rule 12(b)(6) motion does not need detailed factual allegations,

but the plaintiff must nonetheless provide more than merely labels and conclusions, and a

“formulaic recitation of the elements of a cause of action will not do.” Twombly, 550

U.S. at 555. The factual allegations in the complaint are assumed to be true, even if
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unlikely, but the allegations must “raise a right to relief above the speculative level” and

“state a claim to relief that is plausible on its face.” Id. at 555, 570. A claim has facial

plausibility where the factual allegations allow the court to reasonably infer that the

defendant is liable for the misconduct alleged. Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009). Facts that are merely consistent with a defendant’s liability are insufficient. Id.

        ii.   Supplemental Admiralty Rule E(4)(f)

       Whenever property is arrested or attached, any party claiming an interest in the

property is entitled to a prompt hearing at which the plaintiff must show why the arrest or

attachment should not be vacated or other relief granted. Fed. R. Civ. P. Supp. Adm. R.

E(4)(f). In addition to meeting the filing and service requirements of Supplemental Rules

B and E, the plaintiff must show that: (1) it has a valid prima facie admiralty claim

against the defendant; (2) the defendant cannot be found within the district; (3) the

defendant’s property may be found within the district; and (4) there is no statutory or

maritime law bar to the attachment. Naftomar Shipping and Trading Co. v. KMA Intern.

S.A., 2011 WL 888951 at *2 (S.D. Tex. Mar. 10, 2011).

       Courts disagree whether the standard for determining whether a plaintiff has a

valid prima facie admiralty claim is merely a pleading standard or whether it includes an

evidentiary requirement that there be reasonable grounds to support the attachment. Id.

“Reasonable grounds” has been compared to probable cause. Id. In Naftomar, a judge of

this court applied the reasonable grounds/probable cause standard, determining that the

plaintiff has the burden to establish probable cause for the arrest. Id. at *3. At a Rule

E(4)(f) hearing, the court does not definitively resolve factual disputes, but rather
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determines whether it is likely that the alleged facts are true. Id.

       While similar, a Rule 12 motion to dismiss and a Rule E(4)(f) motion to vacate are

not precise equivalents. White Rosebay Shipping S.A. v. HNA Group Co. Ltd., 2013 WL

441014 at *3 (S.D. Tex. Feb. 5, 2013). While a court may not go outside the pleadings in

considering a Rule 12(b)(6) motion, a Rule E(4) motion “permits the Court to look

beyond the complaint, consider evidentiary submissions by the parties, and to hold a

hearing, if requested.”    Id.    Thus, even if the plaintiff’s factual allegations state a

plausible maritime attachment claim under Rule 12, the court must additionally consider

whether the complaint sets forth a valid prima facie admiralty claim under Rule E(4),

which is a higher standard. Id.

         b. Verification of Complaint

       In the motion to vacate the attachment and motion to dismiss (D.E. 17), SAM

Eagle argues that the complaint is not properly verified under Supplemental Admiralty

Rule B(1)(a). (D.E. 17 at 19-21). In particular, SAM Eagle contends that Batelli’s

declaration is defective because it establishes that the majority of the allegations in the

complaint are based on information and belief rather than Batelli’s personal knowledge.

(Id.). FIMBANK denies that any such personal knowledge requirement exists at the

pleading stage when seeking a maritime attachment. (D.E. 21 at 28-29).

       If a defendant is not found within the district when a verified complaint seeking an

attachment and accompanying affidavit are filed, the complaint may contain a prayer for

process to attach the defendant’s personal property in the hands of garnishees named in

the process. Fed. R. Civ. P. Supp. Adm. R. B(1)(a). When filing a complaint seeking
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attachment of a vessel, the plaintiff or plaintiff’s attorney must sign and file an affidavit

stating that, to his knowledge or on information and belief, the defendant cannot be found

in the district. Fed. R. Civ. P. Supp. Adm. R. B(1)(b).

       Here, there is no basis for SAM Eagle’s challenge to the verification of the

complaint. Although SAM Eagle cites several cases in support of its argument, none of

the cases involve the admiralty rules, and the majority arise in the context of a Rule 56

motion for summary judgment, which requires that “[a]n affidavit or declaration used to

support or oppose a motion must be made on personal knowledge.” Fed. R. Civ. P.

56(c)(4). In contrast, the language in Rule B explicitly allows the plaintiff or plaintiff’s

attorney to rely on information and belief. Fed. R. Civ. P. Supp. Adm. R. B(1)(b). As a

practical matter, particularly in a case involving allegations of abuse of the corporate

form in order to perpetrate a fraud or injustice, the plaintiff cannot be expected to have

definitive personal knowledge of the inner workings of the defendants’ businesses prior

to discovery. Finally, while SAM Eagle is correct that the Batelli declaration cannot, by

itself, support the attachment of the vessel, the declaration was not the sole evidence

FIMBANK submitted in support of the alter ego allegations, even before the period of

limited discovery. The allegations in the complaint are specific to the defendants in this

case and not merely conclusory. See, e.g., Kola Shipping Ltd. v. Shakti Bhog Foods Ltd.,

08-Civ-9917, 2009 WL 464202 at *2 (S.D.N.Y. Feb. 24, 2009) (stating that generalized

allegations of an alter ego relationship in an attorney-verified complaint are insufficient

to support an attachment).


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        c. Sufficiency of Service and Second Motion to Dismiss (D.E. 18)

       In the second motion to dismiss, SAM Eagle argues that service was defective as a

matter of law and there is no personal jurisdiction over SAM Eagle. (D.E. 19 at 1).

Specifically, SAM Eagle contends that the master of the M/V SAM Eagle was not

authorized to receive service of process and FIMBANK has not attempted to serve SAM

Eagle internationally. (Id. at 4, 6-7). SAM Eagle also challenges service on behalf of the

other defendants. (Id. at 5-7).

       FIMBANK responds that SAM Eagle waived these arguments by failing to raise

them in the first motion under Rule 12(b). (D.E. 25 at 2-5).

       When a party makes a motion under Rule 12, it must not make another motion

under the same rule raising a defense or objection that was available at the time of their

first motion.   Fed. R. Civ. P. 12(g)(2).     A party waives any defense raised under

Rule12(b)(2)-(5) by omitting it from their first Rule 12 motion.        Fed. R. Civ. P.

12(h)(1)(A). The Fifth Circuit has stated that:

       The meaning of subdivision (g) is clear. If a party seeks dismissal in a
       pretrial motion based on any of the defenses set out in Rule 12(b), he must
       include in such motion any other defense or objection then available which
       Rule 12 permits to be raised by motion. If the party omits such defense or
       objection, Rule 12(g) precludes him from making a further motion seeking
       dismissal based on the omitted defense or objection.

Albany Insurance Co. v. Almacenadora Somex, S.A., 5 F.3d 907, 909 (5th Cir. 1993).

       Under Supplemental Rule E(8):

       An appearance to defend against an admiralty and maritime claim with
       respect to which there has issued process in rem, or process of attachment
       and garnishment, may be expressly restricted to the defense of such claim,
       and in that event is not an appearance for the purposes of any other claim
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       with respect to which such process is not available or has not been served.

Fed. R. Civ. P. Supp. Adm. R. E(8). As explained in the advisory committee’s notes, the

purpose of this rule is to ensure that:

       in order to defend against an admiralty and maritime claim with respect to
       which process in rem or quasi in rem has been served, the claimant or
       defendant [need not] subject himself personally to the jurisdiction of the
       court with reference to other claims with respect to which such process is
       not available or has not been served, especially when such other claims are
       nonmaritime.

Fed. R. Civ. P. Supp. Adm. R. E(8) advisory committee’s note (1966).

       Here, as an initial matter, SAM Eagle lacks standing to challenge the sufficiency

of service on behalf of the other defendants, which it claims no relation to. Further,

despite citing Rules 12(b)(2) and (4) at the outset of the motion, SAM Eagle has raised no

argument under those provisions.

       As to Rule 12(b)(5), SAM Eagle waived the arguments raised in its second motion

to dismiss by failing to raise them in its first motion to dismiss. SAM Eagle explicitly

cited Rule 12(b)(6) as a basis for its first motion, which was accordingly a motion under

Rule 12 for the purposes of Rule 12(g)(2) and (h)(1)(A). (D.E. 17 at 1). SAM Eagle has

raised no argument that the claims raised in the second Rule 12 motion were unavailable

at the time of the first motion, nor does there appear to be a basis for such an argument.

See Fed. R. Civ. P. 12(g)(2). Although SAM Eagle stated in the first Rule 12 motion that

it “reserves all its rights and defenses, including its defenses under Federal Rule of Civil

Procedure 12(b)(1) to 12(b)(6),” doing so conflicts with the express language of Rule

12(g) and (h). (Id.). None of the cases that SAM Eagle cites in support of its second

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motion involve a party filing two Rule 12 motions.

       Moreover, although the first Rule 12 motion was filed as part of a restricted

appearance under Rule E(8), the plain language of that rule and the advisory committee

notes indicate that the purpose of a restricted appearance is to protect a defendant sued in

a quasi in rem proceeding from being subject to the court’s general in personam

jurisdiction for other non-admiralty or maritime claims. See Fed. R. Civ. P. Supp. Adm.

R. E(8) & advisory committee’s note (1966). Accordingly, it is unrelated to whether

SAM Eagle’s second motion to dismiss was properly filed because the motion arose from

the same claim and service of process as the first motion to dismiss. To the extent that

SAM Eagle argues in its reply that the Court does not have in personam jurisdiction and

that it has not waived a Rule 12(b) challenge to personal jurisdiction over such claims,

that is correct.   (See generally D.E. 37).      However, the argument is moot because

FIMBANK has not raised in personam claims against SAM Eagle or any other defendant,

but rather explicitly relies on this Court’s quasi in rem jurisdiction. (See D.E. 1 at 19).

         d. Decision of the English High Court

       Following the completion of expedited jurisdictional discovery, SAM Eagle filed

supplemental briefing regarding the English High Court’s discharge of the freezing order

on Discover’s assets. (D.E. 106). SAM Eagle argues that the High Court concluded that

FIMBANK could not establish a mis-delivery claim against Discover, that it knew this

before filing the application for a freezing order, and that FIMBANK’s lack of candor

warranted lifting the freezing order. (Id. at 2-8). SAM Eagle contends that the High

Court’s conclusions establish facts that warrant vacating the attachment of the M/V SAM
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Eagle because there is no valid mis-delivery claim. (Id. at 8-10). SAM Eagle argues that

the decision should have preclusive effect in this case under the doctrines of collateral

estoppel and comity. (Id. at 10-11).

       FIMBANK responds that the High Court’s decision is not binding because the

final decision on the merits of the mis-delivery claim will be made by the arbitrators.

(D.E. 108 at 1-3). FIMBANK contends that comity and collateral estoppel do not apply

because the High Court is not the final fact-finder on the mis-delivery claim. (Id. at 4-9).

       Comity is the recognition of the legislative, executive, or judicial acts of another

nation. Int’l Transactions, Ltd. v. Embotelladora Agral Regiomontana, SA de CV, 347

F.3d 589, 593 (5th Cir. 2003). “Under principles of international comity, a foreign

court’s judgment on a matter is conclusive in a federal court when,” among other

requirements, “the foreign judgment was rendered by a court of competent jurisdiction,

which had jurisdiction over the cause and the parties.” Id. at 594.

       Four conditions must be met in order to apply collateral estoppel or issue

preclusion: (1) the issue is identical to that litigated in a prior action; (2) the issue was

fully and vigorously litigated in the prior action; (3) the issue was necessary to support

the judgment in the prior case; and (4) there is no special circumstance that would make it

unfair to apply the doctrine. Winters v. Diamond Shamrock Chem. Co., 149 F.3d 387,

391 (5th Cir. 1998).

       Here, the English High Court’s decision is not preclusive of this case.

FIMBANK’s claim is premised on the result in arbitration, which remains pending.

(D.E. 1 at 19-20). SAM Eagle argues that “[i]t is extremely unlikely that the London
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arbitration tribunal will render a fact finding contrary to the High Court.” (D.E. 106 at

11). Whether likely or unlikely, SAM Eagle does not argue that the High Court’s

decision is binding on the arbitration tribunal. Thus, the parties do not dispute that there

has not been a binding resolution of FIMBANK’s underlying mis-delivery claim.

Comity does not apply because the High Court did not have final jurisdiction “over the

cause.” Int’l Transactions, 347 F.3d at 594. Instead, the issue will ultimately be decided

in arbitration. Similarly, collateral estoppel does not apply because the issue was not

fully litigated in the High Court. Winters, 149 F.3d at 391. Instead, the issue will be

fully litigated in the arbitration.

       Further, FIMBANK argues extensively in its response that the High Court’s

decision was incorrect, and it submitted voluminous supplemental evidence in support.

(See D.E. 108 at 9-28). While FIMBANK must show that it has a valid prima facie

maritime claim in order to maintain the attachment of the M/V SAM Eagle, this case is

not an appeal of the High Court’s decision. Although the undersigned allowed the parties

to supplement the record in relation to the High Court’s decision, the parties have not

conducted general discovery and the hundreds of pages of evidence that FIMBANK

submitted regarding the merits of the maritime claim go beyond the intended reach of that

order and are improper at this stage. (See D.E. 104).

         e. Prima Facie Maritime Claim

       SAM Eagle argues that FIMBANK has failed to state a valid prima facie maritime

claim because the real claim is against AOS for failing to perform under the applicable

credit facility. (D.E. 17 at 6). SAM Eagle acknowledges that an ocean carrier has a duty
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to properly deliver cargo, but argues that the SAM Eagle did not carry the grain at issue

here. (Id.). SAM Eagle argues that FIMBANK was not the shipper or consignee under

any bill of lading, nor was it the Nika’s charterer. (Id. at 8-9). Finally, SAM Eagle

contends that FIMBANK has alleged no facts regarding the circumstances of the mis-

delivery beyond counsel’s subjective understanding that the cargo was mis-delivered.

(Id.).

         FIMBANK responds that SAM Eagle mischaracterizes the underlying dispute,

which concerns the obligation of Discover to FIMBANK under the bills of lading. (D.E.

21 at 12-13). However, FIMBANK reiterates that the underlying dispute is not directly at

issue here, but rather will be resolved in London arbitration proceedings. (Id. at 14).

FIMBANK asserts that the dispute is clearly a maritime claim because it is between the

holder of the bills of lading for ocean carriage and the ocean carrier under those bills.

(Id. at 14-15). Finally, FIMBANK argues that the terms of the standstill agreement show

that, while the parties disagree about Discover’s liability, they agree that there is a

maritime dispute. (Id. at 15-16).

         A maritime contract is one in which the “primary objective is to accomplish the

transportation of goods by sea.” Norfolk Southern Ry. Co. v. Kirby, 543 U.S. 14, 24

(2004). The sale of goods itself is not “maritime” merely because the parties agree to

ship the goods by sea. Alphamate Commodity GMBH v. CHS Europe SA, 627 F.3d 183,

187 (5th Cir. 2010). There must be a substantial link between the contract and the

operation of the ship, its navigation, or its management afloat. Id. A bill of lading is “a

contract between the shipper and the carrier and continues to govern the rights and
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obligations of the parties until delivery.”         Wemhoener Pressen v. Ceres Marine

Terminals, Inc., 5 F.3d 734, 738 (4th Cir. 1993).

       An agreement to arbitrate before a maritime tribunal suggests that the parties

intended to form a maritime contract and knew, or could predict with relative certainty,

that the contracts were maritime in nature and could result in a Rule B attachment.

Stemcor UK Ltd. v. Sesa Int’l Ltd., No. 09 Civ. 1155(LBS), 2009 WL 1424008 at *3

(S.D.N.Y. May 18, 2009).

       Here, based on the allegations and submitted evidence, FIMBANK has shown

reasonable grounds that it has a prima facie maritime claim based on the mis-delivery of

grain by the Nika. FIMBANK has alleged and submitted evidence indicating that it is the

holder of the bills of lading for a cargo shipment of wheat aboard the Nika. (D.E. 1 at

18). The bills of lading, along with the incorporated charter party, define the conditions

of carriage for the duration of the voyage. (D.E. 23-1 at 2-55). The original bills of

lading were delivered to FIMBANK by Credit Suisse. (D.E. 23-2 at 2-3). FIMBANK

then delivered the bills of lading at issue here to BLOM Bank in Egypt with instructions

regarding when they could be released to the drawee. (D.E. 23-3 at 2-5). It is apparent

from the face of the bills of lading and related documents that they are maritime

contracts, which is in accordance with the typical understanding of a bill of lading,

because they define the conditions of carriage and have a substantial link to the operation

of the ship, its navigation, or its management afloat. See Alphamate, 627 F.3d at 187.

       FIMBANK’s mis-delivery claim arises under the terms of the bills of lading,

which govern the rights and obligations of the parties until delivery. Wemhoener, 5 F.3d
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at 738. SAM Eagle does not dispute that an ocean carrier has a duty to properly deliver

cargo, but rather contends that FIMBANK has not alleged facts to support a mis-delivery

claim. (D.E. 17 at 6-9). Under the Rule 12(b)(6) standard, FIMBANK’s allegation that

the entirety of the grain was discharged before the proper recipients could obtain their

share is sufficient to state a plausible mis-delivery claim. (See D.E. 1 at 3-4). Implicit in

this allegation is that the cargo was delivered to a person who was not entitled to

possession of the goods. See Chilewich Partners v. M/V Alligator Fortune,, 853 F. Supp.

744, 752 (S.D.N.Y. 1994) (discussing when a carrier is justified in making a delivery).

Unlike in Chilewich, where the court concluded following a bench trial that no mis-

delivery occurred where the carrier delivered to a party who was not in possession of an

order bill for the goods, there has as yet been no evidence adduced in this case regarding

the fate of the wheat or how the wrong party took possession of it. See id. Further, under

the Rule E(4)(f) standard, FIMBANK’s submitted evidence supports the allegations and

establishes a reasonable probability that a mis-delivery occurred. White Rosebay, 2013

WL 441014 at *3. At this pre-discovery stage, SAM Eagle has not submitted any

evidence to refute FIMBANK’s construction of events or show that no mis-delivery

occurred.

       Finally, beyond the contents of the bills of lading, Discover and FIMBANK

entered into an agreement to arbitrate the underlying mis-delivery dispute under the rules

of the London Maritime Arbitrators Association.         (D.E. 23-4 at 4).     Although not

dispositive, this agreement is a further indication of the intentions of the parties when

forming the contract and suggests that they knew, or could predict with relative certainty,
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that the contracts were maritime in nature. Stemcor, 2009 WL 1424008 at *3.

       Thus, because FIMBANK’s claim arises from an alleged mis-delivery under

maritime contracts and the evidence submitted at this stage supports the allegations in the

complaint, it has shown reasonable grounds that it has a prima facie maritime claim for

the purposes of Rule E(4)(f). Naftomar, 2011 WL 888951 at *2-3. Similarly, based

solely on the contents of the pleadings, the allegations in the complaint are facially

plausible and give the defendants fair notice of what the claim is under the Rule 12(b)(6)

standard. Twombly, 550 U.S. at 555, 570.

        f. Adequacy of Alter Ego Allegations

       A district court has “original jurisdiction, exclusive of the courts of the States,”

over civil cases of admiralty or maritime jurisdiction. 28 U.S.C. § 1333(1). Under

§ 1333, a district court has the authority to grant attachments and arrests in actions in rem

and to take jurisdiction over alter-ego claims related to the attached vessel. See Flame

S.A. v. Freight Bulk Pte. Ltd., 807 F.3d 572, 582 (4th Cir. 2015). Specifically, a federal

court sitting in admiralty may “pierce the corporate veil of a corporation in order to reach

the ‘alter egos’ of the corporate defendant directly involved,” which requires a fact-

specific analysis. Talen’s Landing, Inc. v. M/V Venture, II, 656 F.2d 1157, 1160 (5th Cir.

1981). District courts apply federal common law when analyzing a corporate identity

claim. ING Bank N.V. v. M/V Portland, IMO No. 9497854, No. 3:15-cv-00805, 2016

WL 3365426 at *6 (M.D. La. June 16, 2016).

       “To state a prima facie claim for alter ego liability, plaintiffs must make specific

factual allegations from which alter ego status can be inferred; conclusory allegations are
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insufficient.” Naftomar, 2011 WL 888951, at *5. To establish an alter ego claim, a

plaintiff must demonstrate: (1) that an abuse of the corporate form occurred; and (2) that

this abuse promoted a fraud or injustice that injured the plaintiff. Bridas v. Gov’t of

Turkmenistan, 447 F.3d 411, 416-17 (5th Cir. 2006). The plaintiff must show both

prongs. White Rosebay, 2013 WL 441014 at *2.

       The Fifth Circuit has set forth a non-exhaustive list of factors that may be

considered when determining whether one company dominates and controls another for

alter ego purposes. Oxford Capital Corp. v. United States, 211 F.3d 280, 284 n.2 (5th

Cir. 2000).   Relevant here are the following factors: (1) common stock ownership

between the parent and subsidiary; (2) common officers and directors; (3) common

business departments; (4) the subsidiary operated with grossly inadequate capital; (5) the

subsidiary receives no business except that given by parents; (6) the parent uses the

subsidiary’s property as its own; and (7) the daily operations of the two corporations are

not kept separate. Id. Ultimately, while these factors are an important consideration, the

determination is to be based on the totality of the circumstances. Century Hotels v.

United States, 952 F.2d 107, 110 (5th Cir. 1992).

       Here, based on the allegations and submitted evidence, FIMBANK has alleged a

facially plausible alter ego claim and has shown reasonable grounds to believe that the

defendants operate as alter egos of each other.        Under the Rule 12(b)(6) standard,

FIMBANK sufficiently alleges that both the SAM Eagle and Nika shared common

ownership and operated as a single company. (D.E. 1 at 9-15). The complaint does not

merely contain a conclusory recitation of the alter ego standard, but rather alleges specific
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facts that tend to show a close relationship between the various defendants. (See id.);

Twombly, 550 U.S. at 555. Further, FIMBANK sufficiently alleges that it suffered an

injustice as a result of Defendants’ abuse of the corporate form because Discover, the

listed owner of the Nika, sold the vessel and now has no assets. (Id. at 15-17).

       Under the Rule E(4) standard, the parties submitted evidence and raised argument

on many of the potential factors to be considered when assessing alter ego allegations.

The undersigned does not address every line of argument, but rather focuses on the

evidence that most strongly supports FIMBANK’s alter ego allegations. Looking at the

totality of the circumstances, in combination with the list of factors the Fifth Circuit has

identified as potentially relevant, the undersigned finds the evidence as outlined below

particularly persuasive and, ultimately, sufficient to meet FIMBANK’s burden to show

reasonable grounds at the Rule E(4)(f) stage.

       The evidence indicates that multiple companies involved with the ownership and

management of various vessels are owned by the same ultimate beneficial owner, Irina

Pomelova. As described in SAM Eagle’s briefing, this multi-leveled maze of companies

includes Dry Bulk Global Limited, SAM Shipping Group Limited, Atlantic Pioneer

Shipping Company, Pacific Navigator Shipping Company, Middleton Capital Inc.,

Crosby Ventures Inc., Helen’s Advisor’s Inc., SAM Panama, Venturi Fleet Management,

Cornwall Maritime, Locomo, and the single-vessel-owning corporations that own the

SAM Eagle, SAM Hawk, SAM Jaguar, SAM Lion, SAM Wolf, and SAM Panther. (See

D.E. 75 at 6-8). Thus, it is undisputed that SAM Eagle and SAM Panama share the same

ultimate beneficial owner. However, while SAM Eagle concedes that the Nika was
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commercially managed by SAM Panama, it disputes that they share the same ultimate

beneficial owner, instead contending that Discover was the 100% owner of the Nika and

that Samed Gurbanov3 was the 100% owner of Discover. (Id. at 8-9). Dennis Saevski,

the manager of SAM Panama, Venturi, and several other Pomelova corporations, testified

in a deposition that Pomelova did not make decisions regarding the Nika, and Gurbanov

did not make decisions regarding the SAM Eagle or other vessels. (D.E. 74 at 71-72[276-

77]).4

         FIMBANK disputes whether Gurbanov remains involved in the ownership of the

SAM Eagle or other Pomelova companies. (D.E. 73 at 7-12). However, the core of the

dispute between the parties is whether the SAM Eagle and the Nika merely shared SAM

Panama as a commercial manager, or whether SAM Panama in reality operated both

vessels as its own property for the benefit of the same ultimate beneficial owner(s).

Based on the submitted evidence, FIMBANK has shown reasonable grounds of the latter.

Discover did not have its own bank account. (D.E. 74 at 21[76]). All deposits were

made into the SAM Panama account. (Id.; D.E. 74-28 at 4-7). Neither SAM Eagle nor

Discover had any employees, as they contracted with their respective Pomelova-owned


         3
         It is undisputed that Gurbanov is Pomelova’s son. (D.E. 75 at 10). Further, it is
undisputed that Gurbanov was previously involved in the ownership structure of at least
some of Pomelova’s companies, including the holding company for the Nika when it was
known as the SAM Tiger. (D.E. 74 at 9-10[28-29]; D.E. 74-22 at 2; D.E. 74-23 at 2).
Gurbanov officially resigned as an ultimate beneficial owner in 2011 following his
marriage to the president of Azerbaijan’s daughter, which had created complications for
the business. (D.E. 74 at 7[17-20]).
         4
        Each page of Saevski’s deposition includes four mini-pages. The number inside
the brackets is to the specific mini-page.
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commercial and technical management companies to pay operating expenses, including

crew. (D.E. 74 at 16[53-54], 21[76]). Neither SAM Eagle nor Discover had its own

operational address, but were both operated out of the same office in Greece. (Id. at

16[53]; D.E. 74-18 at 3; D.E. 74-20 at 3).

       SAM Eagle asserts that these facts represent a standard ship management

arrangement where SAM Panama's management authority is governed by all-

encompassing contracts between each single-vessel-owning entity and SAM Panama as

the commercial manager. (D.E. 75 at 20, 24-26, 34-35). This could be true, but it is

important to note that the analysis at the Rule E(4) stage does not definitively resolve the

dispute. Naftomar, 2011 WL 888951 at *3. The evidence provided at this stage shows

that the day-to-day management and financial decisions regarding the SAM Eagle and

Nika were both made by Pomelova-owned companies, and all the money earned by both

vessels went into Pomelova-controlled bank accounts. Under the factors identified by the

Fifth Circuit, these facts suggest that there are reasonable grounds to believe that: (1) the

companies have a common ultimate beneficial owner, Pomelova; (2) the companies share

common business departments because the management company is the only business

department; (3) both the SAM Eagle and Nika receive no business other than that

arranged by SAM Panama; (4) through its role as commercial manager, SAM Panama is

able to use the vessels as its own; and (5) the management of daily operations is not kept

separate. Oxford Capital, 211 F.3d at 284 n.2.

       Finally, as to whether the alleged abuse of the corporate form was used to commit

fraud or wrongdoing, FIMBANK has shown reasonable grounds that the sale of the Nika
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was made with the intent to shelter assets from any recovery FIMBANK may obtain for

the mis-delivery. It does not appear that Discover violated the terms of the standstill

agreement by selling the Nika because the sale took place after the expiration of the

agreement. (D.E. 23-4 at 3).5 However, Discover nevertheless sold its only asset while

aware of a claim pending against it, and all proceeds of the sale went directly to

Gurbanov without even stopping in a corporate account. (D.E. 74-45 at 9). Regardless

of whether the buyer was a true third-party or not,6 the sale is relevant to the alter ego

allegations. Specifically, if Discover is an alter ego of the other defendants, assets other

than the Nika would remain in the event that FIMBANK is entitled to recovery following

arbitration. Thus, FIMBANK has shown reasonable grounds to believe that the abuse of

the corporate form, represented by the formation of the various alter ego corporations,

allowed Defendants to perpetrate an injustice by liquidating Discover’s assets and leaving

no potential recovery should FIMBANK prevail in arbitration, despite having ample

assets throughout the other alter ego corporations.

       Accordingly, FIMBANK has met its burden under Rule E(4) to maintain the

attachment because it has shown reasonable grounds that Defendants are alter egos of


       5
         In the agreement, Discover agreed not to sell or otherwise transfer the vessel
before June 21, 2019. (D.E. 23-4 at 3). However, nothing in the language of the
agreement prevents Discover from negotiating a sale during the grace period, only from
finalizing a sale. The agreement includes a provision to extend the grace period, which
apparently was not pursued. (Id.).
       6
         The vessel, now known as the Nord, and its new owner, Anchor Nautical,
continue to contract with Venturi, a Pomelova company, for commercial and technical
management. (D.E. 74-19 at 2-3). Gurbanov, a resident of Azerbaijan, arranged the sale
to another man in Azerbaijan. (D.E. 74 at 31-32[116-17]).
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each other and have abused the corporate form to perpetrate a fraud or injustice. For the

same reason, this Court’s exercise of admiralty jurisdiction is proper.           Finally,

FIMBANK has also met its burden to avoid dismissal under Rule 12(b)(6) because the

allegations in the complaint are facially plausible and give the defendants fair notice of

what the claim is. Twombly, 550 U.S. at 555, 570.

   III. RECOMMENDATION

      Accordingly, it is recommended that SAM Eagle’s motion to vacate the

attachment and dismiss (D.E. 17) and motion to dismiss (D.E. 19) be DENIED. Further,

following the period of limited jurisdictional discovery, it is recommended that the Court

find that FIMBANK has shown reasonable grounds at this stage to maintain the

attachment based on an alter ego relationship between Defendants and that jurisdiction is

proper.

      Respectfully submitted this 21st day of May, 2020.


                                             ___________________________________
                                             Julie K. Hampton
                                             United States Magistrate Judge




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                                NOTICE TO PARTIES

      The Clerk will file this Memorandum and Recommendation and transmit a copy to

each party or counsel. Within FOURTEEN (14) DAYS after being served with a copy of

the Memorandum and Recommendation, a party may file with the Clerk and serve on the

United States Magistrate Judge and all parties, written objections, pursuant to Fed. R.

Civ. P. 72(b), 28 U.S.C. § 636(b)(1), General Order No. 2002-13, United States District

Court for the Southern District of Texas.

      A party’s failure to file written objections to the proposed findings, conclusions,

and recommendation in a magistrate judge’s report and recommendation within

FOURTEEN (14) DAYS after being served with a copy shall bar that party, except upon

grounds of plain error, from attacking on appeal the unobjected-to proposed factual

findings and legal conclusions accepted by the district court. Douglass v. United Servs.

Auto Ass’n, 79 F.3d 1415 (5th Cir. 1996) (en banc).




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